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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                      Case No. 1:97-CR-43-02
               Plaintiff,
                                                      HON. RICHARD ALAN ENSLEN
v.

ALEX CRUZ,

            Defendant.                                ORDER
______________________________/

       This matter is before the Court on Defendant’s Motions pursuant to 28 U.S.C. § 2253 and

to proceed in forma pauperis on appeal. Defendant seeks to appeal this Court’s Order of June 3,

2005. Said Order denied Defendant’s Motion pursuant to Federal Rule of Civil Procedure 60(b)(6)

which requested relief from this Court’s Order denying Defendant’s Motion for Federal Jurisdiction.

(See Order, Dkt. No. 286; Def.’s Mot., Dkt. No. 284 at 2, n.1; see also Dkt. Nos. 246 & 250.)

       Defendant has previously appealed this Court’s Order denying Defendant’s Motion for

Federal Jurisdiction to the Sixth Circuit Court of Appeals. Defendant was denied a certificate of

appealability by the Sixth Circuit and his appeal was dismissed. (See Dkt Nos. 260 & 274.)

Defendant then petitioned the Supreme Court of the United States for a writ of certiorari regarding

this issue. Defendant’s petition was denied, as well as his request for rehearing. (See Dkt Nos. 282

& 283.)

       For the reasons set forth in this Court’s Order denying Defendant’s Rule 60(b) motion and

because Defendant has previously been denied a certificate of appealability as to the issues raised

in his Rule 60(b) Motion, the Court determines Defendant has presented no colorable basis for

appeal and a certificate of appealability will be denied.
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        Additionally, since Defendant did not proceed pursuant to 28 U.S.C. § 2255 in the underlying

motion for determination of federal jurisdiction, 28 U.S.C. § 2253 does not apply. However, even

if § 2253 did apply to Defendant’s Motion, a certificate of appealability would not issue. Upon

review of the issues individually as required by the decisions in Slack v. McDaniel, 529 U.S. 473

(2000) and Murphy v. Ohio, 263 F.3d 466, 466-67 (6th Cir. 2001), the Court finds that reasonable

jurists would not find Defendant’s positions debatable with respect to the substantive grounds for

denying relief as to all issues asserted. See Slack, 529 U.S. at 482-85; see also Porterfield v. Bell,

258 F.3d 484, 486 (6th Cir. 2001).

        Upon review of Defendant’s Motion to Proceed in forma pauperis and supporting financial

document, the Court determines that Defendant is indigent and without present funds to pay court

fees.

        THEREFORE, IT IS HEREBY ORDERED that Defendant’s Motion for a Certificate of

Appealability (Dkt. No. 288) is DENIED.

        IT IS FURTHER ORDERED that Defendant’s Application to Proceed In Forma Pauperis

(Dkt. No. 289) is GRANTED.

                                                      /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                               RICHARD ALAN ENSLEN
    August 11, 2005                                   UNITED STATES DISTRICT JUDGE




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